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                       UNITED STATES DISTRICT COURT

                         DISTRICT OF RHODE ISLAND

 Mary Seguin

       v.                                       Case No. 13-cv-12-SJM-LM
                                                Opinion No. 2014 DNH 091
 Textron, Inc., et al.

                                  O R D E R

       Before the court are motions filed by the Office of the

 Rhode Island Attorney General in both of these consolidated

 cases, on behalf of parties represented by that office, to

 restrict plaintiff’s filing of future actions against state

 officers, agencies, and employees.         See Textron Doc. No. 173;

 Suttell Doc. No. 91.1      See Textron Doc. Nos. 179, 180.        Seguin

 has objected to the motions.        See Textron Doc. No. 170, and

 Suttell Doc. No. 102.      Co-defendants Adler, Pollock & Sheehan,

 P.C. (“AP&S”) and McIntyre Tate, LLP (“McIntyre”) have joined in

 the filing restriction motion in Textron, to the extent that the

 restriction covers all future lawsuits concerning plaintiff’s

 Rhode Island Family Court matters.




 1
      This consolidated action includes documents filed originally
 in Seguin v. Suttell, No. 13-cv-095-JNL, a matter that has been
 consolidated with the above-captioned action (“Textron”) and
 statistically closed, as well as documents filed in Textron
 before consolidation. Documents filed originally in Suttell are
 cited here as “Suttell Doc. No. __”; documents filed originally
 in Textron are cited as “Textron Doc. No. __.”
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                                  Background

       These consolidated cases represent the third and fourth

 federal actions filed by plaintiff Mary Seguin (“Seguin”) in the

 United States District Court for the District of Rhode Island,

 concerning Rhode Island Family Court matters involving Seguin and

 either Gero Meyersiek or Marc Seguin, the fathers of her two

 daughters.    The court in the two prior federal cases filed by

 Seguin, Seguin v. Bedrosian, No. 12-cv-614-JD-LM (D.R.I.)

 (“Bedrosian”), and Seguin v. Chafee, No. 12-cv-708-JD (D.R.I.)

 (“Chafee”), dismissed all of Seguin’s claims in those cases.               See

 Bedrosian, 2013 WL 367722 (D.R.I. Jan. 30, 2013), aff’d, No. 13-

 1242 (1st Cir. Nov. 1, 2013); Chafee, 2012 WL 6553621, at *7

 (D.R.I. Dec. 14, 2012), reconsideration denied, 2013 WL 124301

 (D.R.I. Jan. 9, 2013), aff’d, No. 13-1241 (1st Cir. Nov. 1,

 2013).    In a separate order this date, this court granted

 defendants’ motions to dismiss all claims in these consolidated

 cases, upon finding, among other things, that Seguin’s claims

 were barred by the doctrines of res judicata and collateral

 estoppel, based on rulings issued in Bedrosian and Chafee.

       This court’s order granting those motions to dismiss

 terminates a temporary filing restriction placed upon Seguin in

 these consolidated cases, generally preventing her from filing

 documents in these cases while the motions to dismiss remained

 pending.    See Suttell Doc. No. 108; Textron Doc. No. 174.           In


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 issuing that temporary filing restriction, the court adopted then

 Magistrate Judge McCafferty’s report and recommendation (see

 Suttell Doc. No. 70; Textron Doc. No. 158), detailing incidents

 of Seguin’s harassing and abusive litigation tactics that had

 wasted the court’s and parties’ resources.          See Suttell Doc. No.

 108; Textron Doc. No. 174.



                                  Discussion

 I.    Recusal

       The state defendants, in their motions, seek an order

 permanently enjoining Seguin from filing future actions in this

 court against any state agencies or employees, in light of her

 history of vexatious litigation asserting the same claims.             AP&S

 and McIntyre have joined that motion, to the extent that they

 seek to enjoin the filing of any lawsuits arising out of Seguin’s

 Family Court matters.

       As a preliminary matter, Seguin asserts that this court

 should be disqualified from ruling on those motions because she

 has filed a judicial misconduct complaint against the judges

 assigned to this case.      Seguin has requested recusal of the New

 Hampshire judges assigned to these cases a number of times in

 each case for similar reasons, and each of those motions has been

 denied.    See, e.g., Suttell Doc. Nos. 19 and 106; Textron Doc.

 Nos. 157.    Nothing in the record warrants reconsideration of


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 those rulings, and nothing requires this court to hold the

 pending motions in abeyance at this time.



 II.   Filing Restriction

       A.    Authority

       “Federal courts plainly possess discretionary powers to

 regulate the conduct of abusive litigants.”          Cok v. Fam. Ct., 985

 F.2d 32, 34 (1st Cir. 1993).        This power encompasses the ability

 to enjoin a pro se party from filing frivolous and vexatious

 pleadings.    See United States v. Gomez-Rosario, 418 F.3d 90, 101

 (1st Cir. 2005).     Where a litigant has demonstrated a propensity

 to file repeated suits, involving the same or similar claims of a

 frivolous or vexatious nature, a bar on further filings is

 appropriate.     Castro v. United States, 775 F.2d 399, 409 (1st

 Cir. 1985) (per curiam), abrogated on other grounds by Stevens v.

 Dep’t of Treasury, 500 U.S. 1 (1991).

       A filing ban should occur only where clearly indicated by

 the record in a particular case, including, for example, a

 history of repetitive frivolous filings, and only after the

 plaintiff has been warned that filing restrictions are

 contemplated.     Cok, 985 F.2d at 35.      An injunction on the ability

 of a plaintiff to file lawsuits must be tailored to the specific

 circumstances presented, particularly when issued against a pro

 se plaintiff.     Id. at 34-35.


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       B.    Factors

       Seguin has a well-documented history of filing repetitive

 claims arising out of her Family Court matters, naming a cast of

 state defendants.      The court in Chafee and Bedrosian dismissed

 such claims, and the First Circuit affirmed those decisions.             The

 state superior court in Providence County also rejected similar

 claims in Seguin’s failed attempt to collaterally challenge

 Family Court orders in that court.         See Suttell Doc. No. 86-1, at

 80-89 (Seguin v. Bedrosian, No. 2012-0124 (R.I. Super. Ct.,

 Providence Cnty.) (July 2012 bench ruling and August 2012 order

 granting motion to dismiss)).

       Seguin has continued to file new cases relating to and

 arising out of her Family Court proceedings, repeating the same

 or very similar claims, and naming many of the same defendants.

 Seguin filed these cases after the district court in Chafee and

 Bedrosian made it clear that no further district court

 consideration of her claims in those cases was warranted.             And

 one week after the state defendants here, on October 29, 2013,

 filed their motion for a permanent filing restriction seeking to

 enjoin future filings against the state in the District of Rhode

 Island, see Suttell Doc. No. 91, Seguin joined a group of

 plaintiffs filing a complaint in the District of Massachusetts,

 asserting claims similar to those asserted in these consolidated

 cases, naming a familiar set of state judges and officers as


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 defendants, and adding defendants including the government

 attorneys who have appeared in this court to represent the state

 defendants.     See Kufner v. Suttell, No. 1:13-cv-12864-DJC (D.

 Mass. complaint filed Nov. 6, 2013).

       Adverse judgments, the imposition of a temporary filing

 restriction in these consolidated cases, and defendants’ motion

 for a permanent filing restriction have all failed to deter

 Seguin from filing further actions.         The relative frequency of

 Seguin’s initiation of new actions, her recitation of the same

 claims in the face of adverse rulings, and the generally

 vituperative and sometimes personal nature of her arguments in

 these cases suggests a passion for relitigating Family Court

 matters bordering on a mania.        This court concludes that it must

 specifically enjoin Seguin from engaging in further vexatious

 litigation, employing the identity of the defendants and the

 general subject matter of the claims as a narrowly-tailored

 screen appropriate for Seguin’s circumstances.



                                  Conclusion

       For the foregoing reasons, the court GRANTS the filing

 restriction motions (Textron Doc. Nos. 173, 179, 180; Suttell

 Doc. No. 91), and issues the following permanent injunction:

 (1)   Mary Seguin is permanently enjoined and restrained from
       commencing or litigating - without prior leave of the
       court - any action in the United States District Court
       for the District of Rhode Island, involving matters

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       arising out of Rhode Island Family Court proceedings
       and actions filed by Seguin challenging and/or
       appealing orders issued in those Family Court
       proceedings (hereinafter “Rhode Island State Court
       Proceedings”), including specifically:

       (a)   Seguin v. Seguin, No. K2001-0503 (R.I. Fam.
             Ct., Kent Cnty.);

       (b)   Meyersiek v. Seguin, No. K2001-0521M
             (R.I. Fam. Ct., Kent Cnty.);

       (c)   Meyersiek v. Seguin, No. K2004-0077A
             (R.I. Fam. Ct., Kent Cnty.);

       (d)   Meyersiek v. Seguin, No. P2011-0026A
             (R.I. Fam. Ct., Providence Cnty.);

       (e)   Seguin v. Seguin, No. SU-2010-220-M.P.
             (R.I.); and

       (f)   Seguin v. Bedrosian, No. 2012-0124
             (R.I. Super. Ct., Providence Cnty.).

 (2)   Mary Seguin must seek leave of court before she files a
       complaint in the United States District Court for the
       District of Rhode Island, arising out of the Rhode
       Island State Court Proceedings, against:

       (a)   the Rhode Island Family Court, the Rhode
             Island Supreme Court, or any current or
             former Rhode Island judge, justice, or court-
             appointed mediator or guardian ad litem,
             including Chief Justice Paul Suttell; Family
             Court Chief Judge Haiganush Bedrosian; Family
             Court Associate Judges John E. McCann III,
             Stephen J. Capineri, and Michael B. Forte;
             the Estate of Family Court Associate Judge
             Gilbert Rocha; and Family Court
             mediator/guardian ad litem Lori Giarrusso;

       (b)   the Rhode Island Governor’s Office and/or
             Governor Lincoln Chafee;

       (c)   the Rhode Island Executive Office of Health
             and Human Services and/or Health and Human
             Services Secretary Steven M. Constantino;


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       (d)   the Rhode Island Child Support Office,
             Director Sharon A. Santilli, and/or Attorney
             Priscilla Glucksman; and

       (e)   the Rhode Island Attorney General’s Office
             and/or Attorney General Peter F. Kilmartin.

 (3)   This court will not grant leave for Mary Seguin to file
       a complaint naming any of those parties as defendants,
       or otherwise asserting claims arising out of the Rhode
       Island State Court Proceedings, unless she files the
       proposed complaint, together with an affidavit
       certifying in good faith that the proposed complaint
       asserts novel claims that: (a) have not previously been
       raised in this court; and (b) do not arise out of
       matters previously litigated in this court.

 (4)   Mary Seguin must pay the filing fee or file an in forma
       pauperis application at the time she seeks leave of
       court, before the court will determine whether she can
       file the proposed complaint.

 (5)   Any filing or proposed complaint presented to the
       clerk’s office by Mary Seguin against any defendant
       listed in Paragraph (2)(a)-(e) above, and/or arising
       out of the Rhode Island State Court Proceedings, will
       be assigned to a magistrate judge or district judge for
       screening prior to filing. The assigned judicial
       officer shall determine whether the filing or proposed
       complaint complies with the terms of this injunction.
       If it does, the complaint will be docketed. If the
       filing violates the injunction, the court will reject
       the filing and return the filing fee, if a filing fee
       has been received.

 (6)   This injunction is intended to prevent Seguin from
       instituting any further actions against the listed
       defendants and/or relating to the Rhode Island State
       Court Proceedings, without first satisfying a
       magistrate judge or district judge that the complaint
       does not arise out of matters that have already been
       litigated or otherwise decided by this court. This
       injunction does not prevent Mary Seguin from filing a
       notice of appeal, from defending herself in any
       lawsuit, or from pursuing any meritorious claims which
       have arisen or may arise in the future against any
       defendant, which may be appropriately filed in this
       court.

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           SO ORDERED.


                                     ____________________________
                                     Steven J. McAuliffe
                                     United States District Judge

 April 25, 2014

 cc:       Mary Seguin, pro se
           Rebecca T. Partington, Esq.
           Susan E. Urso, Esq.
           Mark W. Freel, Esq.
           Joseph Avanzato, Esq.
           Leslie D. Parker, Esq.
           Gordon P. Cleary, Esq.
 SJM:nmd




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